Case 2:24-cv-00117-JCC

Pro Se 1 2022

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By WESTERN Sasa STRICT Cour

OF WASHINGTON

DEPUTY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Cook, VY mica LYare

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Plaintiff(s),
v.

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®@. ~~‘ Defendant(s).
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case no. 2-24 -tW/- 0Of7 JL

|to be filled in by Clerk’s Office]

COMPLAINT FOR A CIVIL CASE

Jury Trial: CO Yes 0 No

I. THE PARTIES TO THIS COMPLAINT

A. Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach

additional pages if needed.

Namef’”* _ Mow & OF LYNNE Caold

ame ™ De L
Street Address (6 o ) Lj7ts S Cc Ax. 23°}

City and County E\ IX RET Sagem 4Sh

State and Zip Code Wis 4G 22)

Telephone Number

bas) 499-3513 J 2G 428-8608

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B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if
needed.

Defendant No. 1

Name 1.) Cy E Wwe jheroragwr-
Job or Title (if known) CP? S UWE | NVESTI rnd.
Street Address

City and County tVe (ex Core yarns

State and Zip Code Wx Ay 2o \

Telephone Number

Defendant No. 2

Name Sota, Pot *& Se 0 Comey
Job or Title (if known) DLE Soulud wer kes Ines Suuetigov
Street Address [2 oJ
47s}
City and County ir ie. Sich ia
Da Arw is
State and Zip Code W)\P< 2 2e\
Telephone Number ~
Defendant No. 3 .
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Job or Title (if known) y ys “eS tea
Street Address
City and County My. Vuep m S¥auy
State and Zip Code lw es \e7) 4 ~

Telephone Number 3 yY 24-4 i

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Defendant No. 4

Name W\ Ve D

Job or Title (if known) Delta Adootreniv
Street Address Lanmense\ Iw

City and County hak Vefnen S Kaa
State and Zip Code wis 48973

Telephone Number ( 3 wo) 32 b- G 29 /

Il. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two

types of cases can be heard in federal court: cases involving a federal question and cases

involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under

the United States Constitution or federal laws or treaties is a federal question case. Under 28

U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and

the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of

citizenship case, no defendant may be a citizen of the same State as any plaintiff.

Constitution that are at issue in this case. Attach additional pages if needed.

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What is the basis for federal court jurisdiction? (select all that apply)

Federal question: O Diversity of citizenship:
If checked complete section A. If checked complete section B.

Fill out the paragraphs in this section that apply to this case.

If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
l. The Plaintiff(s)
a. Ifthe plaintiff is an individual.
The plaintiff (name) \ Oni Ca Lane x _, isacitizen of the
State of (name) W AS WN \ 60”

b. Ifthe plaintiff is a corporation.

The plaintiff, (name) , is incorporated under

the laws of the State of (name) , and has its principal

place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)

2. The Defendant(s)
a. Ifthe defendant is an individual.

The defendant, (name) 9 , is a citizen of the

State of (name) . Or is a citizen of

(foreign nation)
b. Ifthe defendant is a corporation.
The defendant, (name) Mv YO. S Kay Ee WC V Ee , is incorporated under
the laws of the State of (namey___W/ ASHTAW Gtow) , and has its principal
place of business in the State of (name) \W) Dh § WEWGtow .

Or is incorporated under the laws of (foreign nation) :

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

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3. The Amount in Controversy.

The amount in controversy-the amount the plaintiff claims the defendant owes or the

amount at stake-is more than $75,000, not counting interest and costs of court, because (explain)
Attach additional pages if needed:

PRICELESS

iil. STATEMENT OF CLAIM

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as
possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.
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IV. RELIEF

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are continuing
at the present time. Include the amounts of any actual damages claimed for the acts alleged and
the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
and the reasons you claim you are entitled to actual or punitive money damages. Attach
additional pages ifneeded.
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vy il,

V. CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

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purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

Date of signing: \- 4° 2L!
Signature of Plaintiff VAC —.
Printed Name of Plaintiff _\V\owica Lonne Cac t.

Date of signing:

Signature of Plaintiff

Printed Name of Plaintiff

Date of signing:

Signature of Plaintiff

Printed Name of Plaintiff

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